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   9   GLOBAL VENTU HOLDING B.V.
       and Cross-defendant
  10   ALEX ANDEBEEK

  11
                           UNITED STATES DISTRICT COURT
  12
                         SOUTHERN DISTRICT OF CALIFORNIA
  13

  14                                             CASE NO.: 3:19-cv-01018-DMS-LL
       GLOBAL VENTU HOLDING B.V.,
  15                                             CROSS-DEFENDANTS’ REQUEST
                          Plaintiff,             FOR JUDICIAL NOTICE IN
  16                                             SUPPORT OF MOTION TO DISMISS
                                                 CROSS-COMPLAINANTS’ FIRST
  17               v.                            AMENDED CROSS-CLAIM
  18
       ZEETOGROUP, LLC, SAMPLES.COM, LLC,
                                                 Date:            March 27, 2020
  19                                      Time:                   1:30 p.m.
       and TIBRIO, LLC,
  20                                             Courtroom:       13A
                          Defendants.
  21
       ZEETOGROUP, LLC, SAMPLES.COM, LLC, Trial:      N/A
  22   and TIBRIO, LLC,                   Case Filed: May 31, 2019
  23                      Cross-complainants,
                                                          Hon. Dana M. Sabraw
  24               v.
  25
       GLOBAL VENTU HOLDING B.V.; ALEX
  26   ANDEBEEK, an individual; and ROES 1
       through 50, inclusive
  27
                          Cross-defendants.
  28

       CROSS-DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF          19-CV-1018 DMS LL
       MOTION TO DISMISS CROSS-COMPLAINANTS’ FACC
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   1                        REQUEST FOR JUDICIAL NOTICE
   2           “The court may judicially notice a fact that is not subject to reasonable dispute
   3   because it: (1) is generally known within the trial court’s territorial jurisdiction; or
   4   (2) can be accurately and readily determined from sources whose accuracy cannot
   5   reasonably be questioned.” FED. R. CIV. PROC. 201(b). “The court . . . must take
   6   judicial notice if a party requests it and the court is supplied with the necessary
   7   information.” FED. R. CIV. PROC. 201(c)(2).
   8           Cross-defendants Global Ventu Holding B.V. and Alex Andebeek request the
   9   Court take judicial notice of the items listed below. The items subject to judicial
  10   notice are attached as exhibits to the concurrently-filed Declaration of David Greco,
  11   and the numbers in the left column correspond to their exhibit numbers.
  12     Ex.                    Description                     Relevance
  13     C      California Secretary of State Website: Zeetogroup LLC’s status is
                Business Search – Entity Detail.       “forfeited,” so it is barred
  14            ZeetoGroup LLC Entity No. 201017310316 from participating in these
                                                       proceedings.
  15            Retrieved on February 23, 2020.
  16
       Dated: February 26, 2020                RMO LLP
  17

  18
                                               /s/ David Greco
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  27                                           Cross-defendant ALEX ANDEBEEK
  28

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       CROSS-DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF             19-CV-1018 DMS LL
       MOTION TO DISMISS CROSS-COMPLAINANTS’ FACC
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     Global Ventu Holding B.V. vs. Zeetogroup, LLC, et al.
     USDC, Southern District, Case No.: 3:19-CV-01018-DMS-LL
                                      PROOF OF SERVICE
1        I am over the age of eighteen years and not a party to the within action. I am
2 Suite 2910,byLos
  employed      RMO LLP, whose business and service address is: 2029 Century Park East,
                   Angeles, CA 90067.
3        On February 26, 2020, I served the within document(s) described as:
4               CROSS-DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN
5              SUPPORT OF MOTION TO DISMISS CROSS-COMPLAINANTS’
                                 FIRST AMENDED CROSS-CLAIM
6          on the interested parties in this action as follows:
7          Christopher S. Morris, Esq.
8          Jacob A. Gillick, Esq.
           MORRIS LAW FIRM, APC
9          501 West Broadway, Suite 1480
           San Diego, CA 92101
1          Tel: 619.826.8060
           Fax: 619.826.8065
0          Email: morris@morrislawfirmapc.com
1          Email: jgillick@morrislawfirmapc.com
           Attorneys for Defendants,
1          Zeetogroup, LLC, Samples.com, LLC,
           And Tibrio, LLC
1
2          (FEDERAL) I declare under penalty of perjury that I am employed in the office
           of a member of the bar of this Court at whose direction the service was made and
1          by causing the document to be served via the Court’s ECF Filing System.
3          I declare under penalty of perjury that the foregoing is true and correct.
1          Executed on February 26, 2020.
4
                                                   /s/
1                                                  Christine James
5
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6
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7
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8
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9                                      PROOF OF SERVICE
2                                            1
